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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No.        18-cr-00359-REB

UNITED STATES OF AMERICA,

        Plaintiff,

v.

LAWRENCE MARTIN BIRK,

        Defendant.



                                       INDICTMENT
                                      26 U.S.C. § 7201


The Grand Jury charges:

                             INTRODUCTORY ALLEGATIONS


        At all times relevant to this Indictment:


     1. Defendant Lawrence Martin Birk (defendant) lived in the District of Colorado,

        where he owned and operated, as a sole proprietorship, Tarryall River Log

        Homes, LLC (“Tarryall”), a company that builds and sells log homes.

     2. Defendant opened a personal bank account at Park State Bank and Trust

        (“PSBT”) on or about February 28, 2000. Defendant opened a business bank

        account for Tarryall at PSBT on or about April 6, 2000.

     3. An “official check” – which is also known as a “cashier’s check,” “bank check,” or

        “certified check” – is issued by a bank and directly draws on the bank’s funds.
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      4. The Internal Revenue Service ("IRS") was an agency within the United States

         Department of the Treasury and was responsible for enforcing and administering

         federal tax laws.

      5. Defendant failed to timely file U.S. Individual Income Tax Returns, Forms 1040,

         for 1998 through 2005.

      6. In or around January 2004, the IRS assessed defendant taxes for 1998 and

         1999. In or around April 2006, the IRS assessed defendant taxes for 2000

         through 2003. The IRS notified defendant about these assessments in

         numerous ways, including a visit to his home in July 2006.

      7. Between approximately November 2006 and January 2007, defendant submitted

         individual income tax returns for 1998 through 2005 to the IRS. The returns were

         submitted on or about the dates listed below, reporting the following amounts of

         taxes due, none of which was voluntarily paid at the time of filing:

                                                                         Tax Due (Listed on
              Form                  Date Submitted to IRS                     Return)
1998 Form 1040X (amended return)        January 3, 2007                        $ 1,177
        1999 Form 1040                 November 22, 2006                      $ 10,607
        2000 Form 1040                  January 3, 2007                       $ (1,090)
        2001 Form 1040                  January 3, 2007                       $ 40,497
        2002 Form 1040                  January 3, 2007                       $ 18,622
        2003 Form 1040                  January 3, 2007                       $ 16,030
        2004 Form 1040                  January 3, 2007                        $ 6,195
        2005 Form 1040                  January 3, 2007                         $ 993
     Total according to returns submitted by defendant                        $ 93,031


      8. Defendant did not make any voluntary income tax payments to the IRS from at

         least January 2001 through June 2018.


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                                       COUNT 1

                           (26 U.S.C. § 7201 – Tax Evasion)

  9. Paragraphs 1 through 8 are incorporated here.

  10. From at least in or about December 2010 through in or about September 2013, in

     the District of Colorado and elsewhere, defendant Lawrence Martin Birk willfully

     attempted to evade and defeat the payment of at least $93,031 of income tax

     due and owing by him to the United States of America for the years 1998 through

     2005 by committing the following affirmative acts of evasion, among others:

        a. Defendant used the Tarryall business bank account – PSBT account

           number ending in 694 – to conduct personal financial affairs.

        b. Defendant maintained a low balance in the Tarryall business bank account

           by purchasing official checks, often immediately after depositing funds, to

           either:

                i. Pay for business expenses, or

               ii. Keep for himself.

     In violation of Title 26, United States Code, Section 7201.




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                                              TRUE BILL:


                                              Ink signature on file in Clerk’s Office
                                              FOREPERSON


RICHARD E. ZUCKERMAN
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U.S. Department of Justice, Tax Division


   s/ Christopher Magnani

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